Case 2:17-cv-00416-JRG Document 66 Filed 04/29/18 Page 1 of 64 PageID #: 702
                                                                               1



    1                  IN THE UNITED STATES DISTRICT COURT

    2                   FOR THE EASTERN DISTRICT OF TEXAS

    3                              MARSHALL DIVISION

    4   INLAND DIAMOND PRODUCTS             )(

    5   CO.                                 )(    CIVIL DOCKET NO.

    6                                       )(    2:17-CV-416-JRG

    7   VS.                                 )(    MARSHALL, TEXAS

    8                                       )(

    9   HOYA OPTICAL LABS OF                )(    MARCH 26, 2018

   10   AMERICA, INC.                       )(    1:35 P.M.

   11                        CLAIM CONSTRUCTION HEARING

   12          BEFORE THE HONORABLE CHIEF JUDGE RODNEY GILSTRAP

   13                       UNITED STATES DISTRICT JUDGE

   14

   15   APPEARANCES:

   16   FOR THE PLAINTIFF: (See Attorney Attendance Sheet docketed
                            in minutes of this hearing.)
   17

   18   FOR THE DEFENDANT: (See Attorney Attendance Sheet docketed
                            in minutes of this hearing.)
   19

   20   COURT REPORTER:        Shelly Holmes, CSR, TCRR
                               Official Reporter
   21                          United States District Court
                               Eastern District of Texas
   22                          Marshall Division
                               100 E. Houston Street
   23                          Marshall, Texas 75670
                               (903) 923-7464
   24

   25   (Proceedings recorded by mechanical stenography, transcript
        produced on a CAT system.)
Case 2:17-cv-00416-JRG Document 66 Filed 04/29/18 Page 2 of 64 PageID #: 703
                                                                               2



    1                                  I N D E X

    2

    3   March 26, 2018

    4                                                                 Page

    5         Appearances                                               1

    6         Hearing                                                   3

    7         Court Reporter's Certificate                             64

    8

    9

   10

   11

   12

   13

   14

   15

   16

   17

   18

   19

   20

   21

   22

   23

   24

   25
Case 2:17-cv-00416-JRG Document 66 Filed 04/29/18 Page 3 of 64 PageID #: 704
                                                                                3



    1              COURT SECURITY OFFICER:       All rise.

    2              THE COURT:    Be seated, please.

    3              All right.    This is the time set for claim

    4   construction in the Inland Diamond Products versus Hoya

    5   Optical Labs case.      This is Civil Action 2:17-CV-416.

    6              Let me call for announcements at this time.

    7              What says the Plaintiff, Inland Diamond Products?

    8              MS. HENRY:    Good afternoon, Your Honor.         Claire

    9   Henry on behalf of Plaintiff.         Along with me today is my

   10   co-counsel, John Halan and Mark Jotanovic.            We're ready to

   11   proceed.

   12              THE COURT:    All right.     Thank you.

   13              What's the announcement for Defendant?

   14              MR. SMITH:    For Defendant, Hoya Optical Products,

   15   Your Honor, Michael Smith, and with me today is Mr. James

   16   Isbester, Mr. James Sze, and Mr. Kerry Hartman.             And we're

   17   ready to proceed.

   18              THE COURT:    All right.     Thank you.

   19              Counsel, before we get to the disputed terms, my

   20   notes indicate that the parties, at least from their

   21   submissions as I read them, have agreed for the Court to

   22   provide the plain and ordinary meaning with no affirmative

   23   need to specifically construe the follow three terms:

   24   "ranges from," stemming from Claims 2 and 6 in the '360

   25   patent; the term "apex" from Claims 2 and 11 in the '130
Case 2:17-cv-00416-JRG Document 66 Filed 04/29/18 Page 4 of 64 PageID #: 705
                                                                               4



    1   patent; and "secured to" from Claims 7 and 11 in the '130

    2   patent.

    3             Is the Court correct in this regard, or is there

    4   still some disagreement among the parties?

    5             What says the Plaintiff?

    6             MS. HENRY:     Correct, Your Honor.

    7             MR. SMITH:     That's correct, Your Honor.

    8             THE COURT:     Okay.    Then the Court will not construe

    9   those terms specifically, and we'll move on to the ones that

   10   are in actual dispute.

   11             We'll start with "interference fit," and let me

   12   hear Plaintiff's argument from the podium, please.

   13             MR. HALAN:     Hello, Your Honor, John Halan, again.

   14             THE COURT:     Good afternoon.

   15             MR. HALAN:     Good afternoon to you, too.

   16             THE COURT:     Please proceed.

   17             MR. HALAN:     Okay.    So this first slide we have

   18   here, just as a short brief on the technology at issue,

   19   which I'm sure Your Honor already understands, but I wanted

   20   to -- and, obviously, it involves an eyeglass frame that

   21   encircles a lens, and the lens has a bevel on it.

   22             And the main two parts at issue today are that the

   23   lens have an interference fit within the frame, which means

   24   that at least one dimension of the lens exceed one interior

   25   dimension of the frame and that the lens bevel have an angle
Case 2:17-cv-00416-JRG Document 66 Filed 04/29/18 Page 5 of 64 PageID #: 706
                                                                                 5



    1   that is less than the frame grove angle.

    2             And I just want to point out one thing with regard

    3   to Figure 2 that's off to the right, because I notice from

    4   opposing counsel's slide show, that one of their arguments

    5   they're going to make is that this doesn't show the frame

    6   completely encircling the lens.         So that will lead one way

    7   from interference fit as we're -- we're presenting it.

    8             But Figure 2 is obviously just a -- a cutaway.               You

    9   can see that the frame has been cut away at the -- not only

   10   at the top but also up inside the right side.

   11             The patent talks about maintaining lens securely

   12   from the frame so it doesn't fall out.           That would only

   13   happen if the frame encircles the lens.

   14             THE COURT:     Now, your -- your representation is how

   15   I view Figure 2, as well.

   16             MR. HALAN:     All right.     Thank you, Your Honor.

   17             THE COURT:     It's a cutaway.

   18             MR. HALAN:     Thank you.

   19             Next slide.

   20             So this shows -- this is an example claim, but we

   21   have our construction, and our construction -- it's really

   22   only the green part that we're requesting the Court to use.

   23   I mean, the last part of it, opposing counsel point out in

   24   their briefing that's -- and the claims are within the

   25   specification.
Case 2:17-cv-00416-JRG Document 66 Filed 04/29/18 Page 6 of 64 PageID #: 707
                                                                               6



    1             But our main definition we're asserting is that

    2   an -- interference fit means that the external dimension of

    3   the lens exceeds a corresponding internal dimension between

    4   the frame channel bottoms.

    5             Now, Hoya's asserted construction has changed.

    6   Initially it was the top one there, a point of contact at

    7   which frictional forces interfere with the motion of the

    8   lens.   And then after reading our brief and realizing the

    9   error of their ways, they -- they changed it, and they went

   10   to a different definition.

   11             I just want to point out that the language we have

   12   highlighted in blue there is basically the same language in

   13   both definitions.      So they have moved -- they've moved from

   14   a point of contact at which into a different contact

   15   argument, a bevel fitting into a triangular channel in such

   16   a manner that it, again, interferes with motion by

   17   frictional forces.

   18             The -- the problem with this, again, is it's

   19   just -- it's just contact alone.         I'm going to get to that

   20   in more detail.     But, also, Your Honor, they're trying to

   21   add limitations contrary to the patent.

   22             And if you can go to the next slide.

   23             So, for example, they're trying to add a limitation

   24   that the channel be triangular.         And by the way, Your Honor,

   25   this slide and the next slide are not in the printed pub --
Case 2:17-cv-00416-JRG Document 66 Filed 04/29/18 Page 7 of 64 PageID #: 708
                                                                               7



    1   printouts I gave.      I just thought of these this morning, so

    2   I apologize, and I can provide printouts to the Court

    3   afterwards if you'd like.

    4             But -- so they -- they want to assert that

    5   interference fit require a triangular channel, when I show

    6   on the right-hand side, our patent clearly shows there

    7   doesn't have to be a triangular channel.           In fact,

    8   triangular channel -- the word "triangular" doesn't occur

    9   anywhere in -- in the patent.

   10             The only thing that can possibly be construed that

   11   maybe mean a triangular channel is Dependent Claim 12 of the

   12   '360 patent, which is shown here that describes the

   13   receiving channel bottom comprising the intersection of the

   14   opposed interior wall surfaces which appears to be what

   15   would be shown on Figure 3B on the right which would be --

   16   would follow through triangular, but it's not a requirement

   17   of the claims.

   18             And so we have some log on here -- not only do they

   19   try to improperly import a limitation from a dependent

   20   claim, but as we pointed out in the log on here, this -- the

   21   claim construction they're asserting does not encompass a

   22   disclosed embodiment, that being the Figure 6 embodiment,

   23   and -- and there's warnings that, of course -- of course,

   24   you're not going to construe the claims to be limited to one

   25   embodiment such as what's shown in Figure 3B.
Case 2:17-cv-00416-JRG Document 66 Filed 04/29/18 Page 8 of 64 PageID #: 709
                                                                                   8



    1             Now, their problem with their construction -- go to

    2   the next slide -- is, again, it's just -- all that's

    3   occurring, again, is mere contact.          This is their

    4   construction, and this is a pretty poor drawing.             I did it

    5   hastily this morning, Your Honor.          I'm sorry, I'm not an

    6   art -- artist.     But if you assume that the yellow is the

    7   lens, and, obviously, we have a curvature to it.             It

    8   wouldn't be two triangulars.

    9             THE COURT:     I got no problem with your drawing.           I

   10   wish you had used a larger font, but nonetheless...

   11             MR. HALAN:     Okay.    I'm sorry, Your Honor.

   12             THE COURT:     I think I can read what you've got

   13   here.

   14             MR. HALAN:     But assuming this is a -- the blue --

   15   the blue part is a cross-section of a frame, their

   16   construction would cover mere contact.           So as long as the

   17   bevel fits into a triangular channel in such a manner that

   18   the channel interferes with the motion of a lens by

   19   frictional force, according to them, that would meet the

   20   claim limitation.

   21             But if it's only contact -- let's say the example

   22   here shown at the bottom of the frame and the top is loose,

   23   it wouldn't be secured as required by the patent.             And the

   24   patent stresses that the interference fit secures a lens

   25   within the frame.
Case 2:17-cv-00416-JRG Document 66 Filed 04/29/18 Page 9 of 64 PageID #: 710
                                                                               9



    1             THE COURT:     Let me ask you this, counsel.

    2             MR. HALAN:     Yes.

    3             THE COURT:     What's your position on compression?

    4   Is it your view that compression is inherent in achieving an

    5   interference fit within the scope of the terms -- claims,

    6   rather?

    7             MR. HALAN:     It is our position that an interference

    8   fit would result in compression.         There are two different

    9   terms -- interference fit is the -- is describing the

   10   dimensional relationships between the various pieces, while

   11   compression is -- is giving the result.

   12             And that was actually added during prosecution,

   13   Your Honor.     One reason it was added during prosecution was

   14   to -- to avoid the way the examiner -- the things that the

   15   examiner was saying, to make sure it was clear that

   16   interference fit, it does result in compression, which is --

   17   our -- our view of the point is that compression confirms

   18   that interference fit is what we're arguing it does mean.

   19             THE COURT:     Well, if you take your proposed

   20   construction and you drop out the resulting contact and

   21   secures the lens and you've told me just to focus on the

   22   blue, which is the prior part of the proposed construction,

   23   it seems what you're basically saying in layman's terms is

   24   the lens is bigger than the frame when they fit together.

   25   And so either the frame has got to give, the lens has got to
Case 2:17-cv-00416-JRG Document 66 Filed 04/29/18 Page 10 of 64 PageID #: 711
                                                                                10



    1   give, or they've both got to deform in some way once they

    2   get in a position to achieve this interference fit.

    3              MR. HALAN:    Well, given the -- to form, the form

    4   can -- as we pointed out in our brief, you're -- you're

    5   right, Your Honor.       We're saying at least one dimension --

    6   only one dimension has to be greater than the frame.

    7              So, for example, if -- if the vertical dimension of

    8   the lens were greater than the frame dimension, but the

    9   horizontal dimension was a little bit smaller than the frame

   10   dimension, there would be an interference fit, but the frame

   11   actually just bends to allow the lens to fit into the frame,

   12   but there would be an interference fit.            And -- and

   13   depend -- and -- and whether it deforms or not, it all

   14   depends on, first of all, the extent of the difference in

   15   size.

   16              THE COURT:    So de -- deformation is not a given?

   17              MR. HALAN:    No, it's not a given, Your Honor.

   18              THE COURT:    And is compression a given, in your

   19   view?

   20              MR. HALAN:    If there's interference fit, there will

   21   be compression --

   22              THE COURT:    Okay.

   23              MR. HALAN:    -- yes, Your Honor.

   24              THE COURT:    Go ahead.

   25              MR. HALAN:    Okay.    And, again, Your Honor, in our
Case 2:17-cv-00416-JRG Document 66 Filed 04/29/18 Page 11 of 64 PageID #: 712
                                                                                11



    1   original -- with regard to the original construction, one

    2   of -- you know, we -- one of our positions we pointed out is

    3   that mere contact -- the resistance by frictional forces

    4   isn't sufficient because a lens laying on a table, you can

    5   push it, and there's -- frictional force is resistant to

    6   pushing, that's not a fit -- that doesn't -- that doesn't

    7   meet the fit requirement, and it surely does not meet the

    8   interference fit -- the interference fit requirement.

    9              The same thing, again, which is shown on this

   10   drawing, you can -- example, you take the lens out, and if

   11   there's a groove on a table, a triangular groove, you can

   12   put the lens in that groove, and you can push it, and

   13   there'd be frictional forces resisting it, but that would

   14   not be a fit and sure wouldn't be an interference fit.

   15   There would be nothing -- this doesn't -- but their

   16   definition by itself does not secure the lens within the

   17   frame.

   18              Next slide.

   19              So this is some things that were discussed in our

   20   brief.    Obviously, there's a heavy presumption that a claim

   21   terms carries its ordinary and customary meaning.

   22              Hoya out -- has out -- out -- outright rejected the

   23   ordinary meaning of interference fit as it's understood in

   24   the art of eyeglass technology.          And, actually, it's a --

   25   it's a well understood term in engineering -- all kinds of
Case 2:17-cv-00416-JRG Document 66 Filed 04/29/18 Page 12 of 64 PageID #: 713
                                                                                  12



    1   engineering disciplines, but it's not the kind of term

    2   that's understood by a layperson.

    3              And the quote there at the bottom is the ordinary

    4   meaning of interference fit taken from a dictionary.               And,

    5   again, the def -- the ordinary meaning of interference fit

    6   is that a dimension of one part be larger than the part to

    7   which it's being inserted or fitting.

    8              So if you go to the next slide.

    9              And, again, this is just pointing out that if it is

   10   a term that's not understood right -- understood by a

   11   layperson, you're allowed to use extrinsic evidence.               And in

   12   this case -- and it hasn't been disputed at all in this

   13   case, all -- all extrinsic evidence points to the same

   14   ordinary meaning.      And I'm not going to bore Your Honor with

   15   the -- all the extrinsic evidence we have in our brief,

   16   but -- go to the next slide.

   17              We have a number of inter -- industry treatises

   18   that we've cited.      This is one of them where it talks about

   19   the outer -- outer diameter of a ring being oversized -- and

   20   figure out the inner dimension of a cell into which it's

   21   being asserted -- inserted.         That's interference fit.        And

   22   if you need further explanation of any of these, just let me

   23   know, Your Honor.

   24              Next slide.

   25              This is -- was Hoya's own evidence that they've
Case 2:17-cv-00416-JRG Document 66 Filed 04/29/18 Page 13 of 64 PageID #: 714
                                                                                13



    1   relied upon.     The left side is showing what's called the

    2   clearance fit where the dimension of the piece on the right

    3   is smaller than the bore or opening into which it's being

    4   inserted, while in interference fit, and it's an

    5   exaggeration, obviously, but the interference fit on the

    6   right side is showing that there has to be a dimension

    7   bigger on the shaft -- bigger than the hole into which it's

    8   being inserted, again, confirming our definition.

    9              Next slide.

   10              We cited a number of prior art patents in the

   11   optical industry, Your Honor, and they all confirm exactly

   12   our definition.      And, again, this is evidence of -- of how

   13   this term is understood in the -- in the art.

   14              THE COURT:    I'm not -- I'm not hearing anything

   15   about the necessity of a point of connection between the

   16   vertex of the bevel and the vertex of the channel or

   17   retention structure.       What's your view on that?

   18              MR. HALAN:    Well, the claim -- the claim requires

   19   that.    The claim requires that between the vertex of the

   20   bevel angle and the groove of the channel.            I'm not sure --

   21   but it also requires in addition to that that there be an

   22   interference fit, which requires, again, that one size be

   23   bigger than the other size.

   24              And the only way that can be achieved is that one

   25   dimension -- overall dimension of the lens is larger than
Case 2:17-cv-00416-JRG Document 66 Filed 04/29/18 Page 14 of 64 PageID #: 715
                                                                                14



    1   one internal dimension of the frame.

    2              THE COURT:    I'm just trying to get the broader

    3   context here.

    4              MR. HALAN:    Okay.    Did I answer your question?

    5              THE COURT:    I think so.

    6              MR. HALAN:    Okay.    So, again, there are a number of

    7   prior art patents.       They all confirm our meaning again.

    8   Hoya is not pointing to anything to the contrary.

    9              And next slide.

   10              We had our own expert inventor testimony.            He's had

   11   more than 47 years of experience in this industry.              It's set

   12   forth in his declaration.        And as he testified, it's clear

   13   be -- at the time, before and after that, the term

   14   "interference fit" has always had just one meaning in the

   15   industry, and that -- that is that one dimension exceed the

   16   dimension of the piece into which it's being inserted or

   17   assembled.

   18              Next slide.

   19              There's only two exceptions to ordinary meaning,

   20   Your Honor.     Both of them require that the patentee take an

   21   action.    So the first is the patentee sets out a definition

   22   of his own, contrary to ordinary meaning.

   23              The second is if the patentee disavows the scope of

   24   the claim, either in the specification or during

   25   prosecution.     It not only must be done by the patentee, it
Case 2:17-cv-00416-JRG Document 66 Filed 04/29/18 Page 15 of 64 PageID #: 716
                                                                                     15



    1   must be clear -- must -- the clear -- the alternative

    2   definition must be clearly set forth.           And not only that,

    3   but the intent to change the definition must be clearly

    4   expressed.

    5              And, again, for disavow the same thing.           It

    6   requires a clear disavowal.         And in the final case we have

    7   cited there, absent a clear disavowal or contrary

    8   definition, the patentee is entitled to the full scope of

    9   his claim language, that being ordinary meaning.

   10              Next slide.

   11              So Hoya's main argument is they relied on the

   12   examiner's statement that was made during prosecution.                  So

   13   in the top there, there's the examiner's statement.               And

   14   this is taken from Hoya's brief.          In the Office Action, the

   15   examiner defined the claim language.

   16              So it was something the examiner said.           It was

   17   never adopted by the patentee.         It's first our position --

   18   in these bullet points down here are our various positions

   19   in response to their positions.

   20              The first one is our position is the examiner is

   21   merely stating his own view of how the Chappell prior art

   22   patent bevel interacted with the frame channel.             And, by the

   23   way, the drawing done on the right side, that's taken from

   24   the Chappell patent.

   25              And, again, the prosecution history -- as set forth
Case 2:17-cv-00416-JRG Document 66 Filed 04/29/18 Page 16 of 64 PageID #: 717
                                                                                  16



    1   in our second bullet point, the prosecution history cannot

    2   be relied upon for disavowal or an alternative definition

    3   unless the applicant took the position before the PTO.                  The

    4   applicant never took this position.           That was something that

    5   the examiner said.

    6              And, in fact, as set forth in the next bullet

    7   point, Inland specifically rejected that examiner's

    8   statement.     We said -- it was pointed out the frame groove

    9   of Chappell is actually not securing the lens to the frame.

   10   As shown on the right-hand side in the Chappell patent, the

   11   frame is only a half piece on the top, and there's a wire

   12   piece that goes around the -- the perimeter of that and

   13   holds the lens in place.

   14              So the frame there was not going to hold it in

   15   place.     There's no interference fit or any kind of fit by

   16   the frame itself holding the lens in place.             It requires an

   17   extra piece, a metal -- yes, Your Honor.            It looks like you

   18   have a question.

   19              THE COURT:    Well, I was going to ask you to slow

   20   down a little bit.       I'm trying to make sure I follow you,

   21   and some of what's coming out is rattling out pretty

   22   quickly.

   23              MR. HALAN:    Okay.     Okay.   Should I back up a little

   24   bit?

   25              THE COURT:    No.     I think I'm with you, just if
Case 2:17-cv-00416-JRG Document 66 Filed 04/29/18 Page 17 of 64 PageID #: 718
                                                                                 17



    1   you'll slow down going forward.

    2              MR. HALAN:    Okay.    Well, again, so Inland rejected

    3   the examiner's statement.        Inland described what's actually

    4   being shown by Chappell, and they -- and by saying Chappell

    5   does not teach an interference fit.

    6              And then the last bullet point, to make it even

    7   more clear, in a later Interview Agenda, Inland stated this,

    8   quote, one potential amendment could be to add that the

    9   vertex is compressed or that it deforms as a result of the

   10   interference fit, period, close quote.           And that amendment

   11   was later made, as pointed out in the briefs.

   12              So, again, the compression was an element that was

   13   added to -- to further distinguish interference fit from any

   14   other kind of fit that the examiner was saying it was.

   15              THE COURT:    All right.

   16              MR. HALAN:    And, again, the main thing -- one of

   17   the main things here, again, is that the applicant never

   18   took that position.       It never disavowed.       It never

   19   redefined.

   20              Next slide.

   21              And that's all I have on interference fit, Your

   22   Honor.

   23              THE COURT:    All right.     Let me hear a response from

   24   the Defendant.

   25              MR. ISBESTER:     Good afternoon, Your Honor.         James
Case 2:17-cv-00416-JRG Document 66 Filed 04/29/18 Page 18 of 64 PageID #: 719
                                                                                18



    1   Isbester on behalf of Hoya.

    2              THE COURT:    Good afternoon.      Go ahead.

    3              MR. ISBESTER:     I'd like to begin, if I may, with a

    4   brief description of -- of Hoya and its business because I

    5   think it -- it may be informative to understanding the

    6   background of this case.

    7              Hoya makes prescription lenses.         It starts with

    8   blank lenses.      And then, for example, if you require a new

    9   pair of eyeglasses, Your Honor, you go to your optician.

   10   The optician would determine the prescription, confer with

   11   you about a frame, select a frame.          The optician would

   12   acquire the frame, and then send the frame, with the

   13   prescription information, to Hoya who would take one of its

   14   blank lenses, surface the lens to the prescription

   15   appropriate to the patient, edge the lens to fit within the

   16   eye frame, mount the lens in the frame, and send it back to

   17   the optician.

   18              The point of this is that in its first slide,

   19   Inland describes to you the various components of the

   20   technology here.      The frame part of that equation is

   21   something that Hoya does not do, and we're not privy to the

   22   design of frame information other than what the optician

   23   tells us and the mounting procedure that we do.

   24              THE COURT:    But it's the frame that informs you as

   25   to how to prepare the lens so that it fits together as a
Case 2:17-cv-00416-JRG Document 66 Filed 04/29/18 Page 19 of 64 PageID #: 720
                                                                                19



    1   complete product?

    2              MR. ISBESTER:     In some -- in some respects, but in

    3   others not.

    4              THE COURT:    All right.

    5              MR. ISBESTER:     We've got a certain amount of

    6   limited data either from the frame or from the optician, and

    7   cut the lens to that limited data.

    8              It may come up down the road, so I'll simply point

    9   out now that among the pieces of information that are not

   10   provided and not acquired by Hoya is the shape of the

   11   channel into which the lens is placed.           All Hoya does is

   12   measure the -- the circumference of that channel, and then

   13   it cuts a lens to fit into that circumference.

   14              THE COURT:    You don't actually measure the angle of

   15   the channel itself, just the circumference?

   16              MR. ISBESTER:     Exactly.

   17              THE COURT:    If you wanted to measure the angle of

   18   the channel, I assume you could do that?

   19              MR. ISBESTER:     Your Honor, this is not on the

   20   record anywhere, but we have inquired.           There was a machine

   21   that was developed in Japan and sold in the United States

   22   that would do that.       Hoya was never able to get that machine

   23   to provide accurate readings and so has never used it

   24   commercially.      That was several years ago -- I think about

   25   five years ago.      At the moment, we don't have any way of
Case 2:17-cv-00416-JRG Document 66 Filed 04/29/18 Page 20 of 64 PageID #: 721
                                                                                20



    1   measuring that angle.

    2              THE COURT:    Well, and I understand the dictates of

    3   commerce might require that you not do certain steps or

    4   functions that in a vacuum you might be able to do, but

    5   having possession of the frame, I guess you could measure

    6   any way you wanted to measure it, even though you might not

    7   do that in your practice or it might not be commercially

    8   feasible to take intricate measurements in -- internal to

    9   the retention channel or -- or the frame.

   10              MR. ISBESTER:     Presumably, there are people with

   11   the right measurement equipment somewhere who -- who could

   12   do that.

   13              THE COURT:    But that's not your client?

   14              MR. ISBESTER:     But that's not my client's?

   15              THE COURT:    Okay.

   16              MR. ISBESTER:     And -- and I agree, Your Honor, that

   17   my client could go out and obtain the equipment necessary to

   18   do that, but it hasn't done that.

   19              THE COURT:    All right.

   20              MR. ISBESTER:     Now, counsel wanted to bring to your

   21   attention at the outset of the comments Mr. Halan offered,

   22   Figure 2 of the patent.

   23              And if I could ask Mr. Hartman to flip to Slide 23.

   24              We've colorized Figure 2, the gray for the frame

   25   because these frames are described in the patents as -- as
Case 2:17-cv-00416-JRG Document 66 Filed 04/29/18 Page 21 of 64 PageID #: 722
                                                                                21



    1   metal frames, and the blue for the lens.            And --

    2              THE COURT:    So those are sunglasses?

    3              MR. ISBESTER:     Yeah.    Exactly, Your Honor.

    4              And -- and Mr. Halan commented that this is a

    5   cutaway, and the other half of the lens is intended to be --

    6   is implicit in this drawing.

    7              And the implication -- or at least the inference I

    8   drew is that this is a case about eye frames in which the

    9   frame entirely encircles the lens.

   10              And I just wanted to direct the Court's attention

   11   to the patent -- Mr. Hartman, if you can bring that up.

   12              Top of Column 5 of the patent, for -- further, it

   13   should be understood that the bevel may be connected to the

   14   vertex and so forth.       In addition, it should be

   15   understood -- and it goes through a number of different

   16   iterations of what this invention can cover.

   17              And then finally, it says:        For example, the bevel

   18   may be present on a portion of the lens body periphery when

   19   the lens body is used with eyeglass frames having only

   20   framed portions corresponding to the upper half of the lens

   21   body.    In other words, Your Honor, Figure 2 is the generic

   22   instance of the invention of this patent.

   23              There is no doubt -- excuse me -- also a specific

   24   instance in which the frame entirely encompasses the lens,

   25   but that's nowhere shown in the patent.
Case 2:17-cv-00416-JRG Document 66 Filed 04/29/18 Page 22 of 64 PageID #: 723
                                                                                22



    1              THE COURT:    I understand.

    2              MR. ISBESTER:     One last detail about -- about my

    3   client.

    4              Hoya is located in Lewisville here in -- in the

    5   Eastern District of Texas where it has its head office,

    6   450 employees there, and approximately a thousand employees

    7   around the country, all of whom are engaged in the same

    8   business of surfacing lenses to a prescription and mounting

    9   them in the frames.

   10              Now, if I can ask Mr. Hartman to flip to Slide 9.

   11              Mr. Halan made a comment about the frame

   12   triangular.     And before we get into the discussion of -- of

   13   our reasons why we believe our definition of interference

   14   fit is correct, let me just point out one concern I have

   15   about Mr. Halan's comments.         And, that is, if you look at

   16   the definition of the channel, it's defined by -- and after

   17   the highlighted terms, which we may not need to address

   18   today, the highlighted term "defined by," you see:              Opposed

   19   interior wall surfaces having a first angle therebetween.

   20              So the point, Your Honor, is that when you have

   21   opposed interior wall surfaces and they define an angle,

   22   that's a triangle.       So Mr. Halan's objection to the word

   23   "triangle," I don't think, is consistent with the claim

   24   as -- as written.

   25              Okay.   Mr. Hartman, can we go to Slide 14?
Case 2:17-cv-00416-JRG Document 66 Filed 04/29/18 Page 23 of 64 PageID #: 724
                                                                                23



    1              Now, here you see, Your Honor, the -- the claim

    2   language that is in dispute.         This is an excerpt from the

    3   '360 patent, Claim 1, and the two parties' competing

    4   definitions.

    5              And the first thing that struck me when I saw this

    6   put together was how much longer the Plaintiff's definition

    7   is than the Defendant's.

    8              This turns patent litigation -- or at least claim

    9   construction -- excuse me, Your Honor -- on its head.

   10   Ordinarily, the Plaintiff is seeking a broad construction

   11   that will apply to lots of different accused products, and

   12   the Defendant is trying to avoid infringement by seeking a

   13   narrow construction.

   14              That's not what's happening in this case, Your

   15   Honor.    With respect to both "interference fit" and "in

   16   compression," the Plaintiff has realized the -- thank you --

   17   the effectiveness of their representation at the PTO may

   18   have been a little bit too good, and they have obtained

   19   claims that are too broad.

   20              And now, before you, the Plaintiff is seeking to

   21   disavow claim structure by adding claim scope -- excuse me,

   22   by adding new structures to the claim.           And we will see this

   23   repeat both, as I said, in "interference fit" and "in

   24   compression."

   25              Next slide.
Case 2:17-cv-00416-JRG Document 66 Filed 04/29/18 Page 24 of 64 PageID #: 725
                                                                                 24



    1              THE COURT:    Let me ask you this, counsel.          In your

    2   briefing, you argue that the ordinary and customary meaning

    3   of interference fit requires the interference, I think you

    4   said, under all tolerance conditions.           Can you tell me what

    5   you mean by "under all tolerance conditions"?

    6              MR. ISBESTER:     Yes, Your Honor.

    7              Now, perhaps this would have been more appropriate

    8   for a jury presentation, but --

    9              THE COURT:    We may get there.

   10              MR. ISBESTER:     -- I find it easier to work with

   11   something physical.

   12              In -- in this instance, this is the prior art.               So

   13   you have a -- a big wide bevel that's fitting into a

   14   triangle -- in a triangular channel.           And there are

   15   certain -- there's a space at the bottom here.             And during

   16   prosecution, the Plaintiff -- well, Mr. Wiand, argued that

   17   that space was a disadvantage.         It meant that the bevel

   18   didn't fit as far into the channel as it would have

   19   otherwise.

   20              The invention was to narrow the bevel.           Same

   21   channel.     Now the bevel fits further down.         And you've got a

   22   tolerance from the top of the -- of the channel to its

   23   bottom that's sufficient to keep the lens from popping out

   24   of the frame.

   25              So here is, obviously, the optimum situation, but
Case 2:17-cv-00416-JRG Document 66 Filed 04/29/18 Page 25 of 64 PageID #: 726
                                                                                25



    1   if it's not quite optimum up to the full height of the

    2   channel, it's still sufficient to keep the bevel in the

    3   channel.

    4              And we believe that that's -- indeed, to the extent

    5   there is an advantage to this design, that's -- that's

    6   probably the primary advantage, not that the bevel is

    7   contacting the bottom of the channel but rather that the

    8   narrower shape of the bevel ensures a greater range of

    9   tolerance -- a greater tolerance and still operate properly.

   10              THE COURT:    So what you're telling me is that your

   11   meaning of "under all tolerance conditions" is as long as

   12   the bevel is somewhere inside the channel?            Is that what

   13   you're saying?      I'm not sure I'm following you.

   14              MR. ISBESTER:     Well, our -- our construction

   15   doesn't specifically require under all tolerance conditions.

   16              THE COURT:    But I thought you argued for that in

   17   your briefing.      It didn't make it to your construction,

   18   but it -- but --

   19              MR. ISBESTER:     I apologize, Your Honor, if that

   20   appeared to be what we were requesting in our --

   21              THE COURT:    Okay.

   22              MR. ISBESTER:     -- in our briefing.       It was not our

   23   intent.

   24              THE COURT:    Then we'll move on.

   25              Are you telling me that unlike many typical
Case 2:17-cv-00416-JRG Document 66 Filed 04/29/18 Page 26 of 64 PageID #: 727
                                                                                 26



    1   situations where the Plaintiff wants a broad construction

    2   and the Defendant wants a narrow one to avoid infringement,

    3   that the Plaintiff wants a narrow one here to avoid

    4   invalidating prior art, or what's your rationale as to why

    5   this is not the typical situation?

    6              MR. ISBESTER:     We believe that's what -- exactly

    7   what's going on, Your Honor.

    8              THE COURT:    Okay.

    9              MR. ISBESTER:     I -- I realize that's putting the

   10   cart before the horse, but I think that's where we end up.

   11              THE COURT:    All right.     Continue with your

   12   argument, please.

   13              MR. ISBESTER:     Mr. Halan addressed at some length

   14   the extrinsic evidence of the plain and ordinary meaning of

   15   interference fit.       And that extrinsic evidence is what

   16   informs in what I would respectfully suggest is a

   17   cherry-picking fashion, the definition that the Plaintiff

   18   has provided.

   19              I'm sorry, where -- can we go to Slide 15?            Yeah,

   20   okay.

   21              And that definition is incorrect, we believe, for

   22   four separate reasons.

   23              The first is that it incorporates into the claim

   24   limitations that are found not in the specification even but

   25   in the extrinsic evidence.
Case 2:17-cv-00416-JRG Document 66 Filed 04/29/18 Page 27 of 64 PageID #: 728
                                                                                  27



    1              And as Your Honor knows, extrinsic evidence is

    2   disfavored.     As the Court in Phillips pointed out, there's

    3   often so much extrinsic evidence, often contradictory, that

    4   one can form just about any definition one wants if one is

    5   permitted to use the extrinsic evidence.

    6              But what we would like to do here is show you why

    7   it doesn't work for perhaps the clearest legal reason, that

    8   it conflicts with what's taught by the specification.

    9              Next slide.

   10              The Plaintiff went through a variety of sources,

   11   treatises, dict -- dictionaries, and so forth from which

   12   they selected discrete components of a -- of a definition.

   13   And so you see a fit in which one part is -- slightly

   14   exceeds the internal dimension of the part into which it has

   15   to fit or one is larger than the other.            That's the -- the

   16   theme throughout.      Every time their definition of

   17   interference fit requires that a bigger thing be squeezed

   18   into a smaller thing, into a smaller space.

   19              And in case one missed the point, at Page 14 of the

   20   brief, Plaintiff demonstrates the difference between or

   21   illustrates the difference between a clearance fit and an

   22   interference fit.      And here you have a shaft of a particular

   23   diameter fitting into a hole of a particular diameter.                  And

   24   the shaft, although not terribly illegible in this drawing,

   25   is a little bit smaller than the hole into which it is
Case 2:17-cv-00416-JRG Document 66 Filed 04/29/18 Page 28 of 64 PageID #: 729
                                                                                28



    1   supposed to fit.      That's a clearance fit.        Seems pretty

    2   straightforward.

    3              And then you have the opposite, an interference

    4   fit.   And here you have a hole and a shaft that is much

    5   bigger than the diameter of the hole, and the shaft has to

    6   be forced into that hole.

    7              So is that what the patent describes?           Absolutely

    8   not.   Remember, this is the prior art.

    9              If we can go to the next slide.

   10              Figure 3 -- 3A is the prior art where you have a

   11   wider bevel being forced into a narrower channel.

   12              Figure 3B, where you have a narrow bevel and a

   13   wider channel, is the invention.

   14              So the definition that Plaintiff now offers turns

   15   what's taught by the patent on its head.

   16              THE COURT:    Well, I understand the Plaintiff to be

   17   arguing that the larger component to fit in the smaller

   18   component is the lens to fit in the frame.            It seems like

   19   what you're telling me is this relates to the -- the bevel

   20   and the retention channel as -- as opposed to

   21   larger/smaller.

   22              MR. ISBESTER:     Exactly.    And --

   23              THE COURT:    So is it -- is it the bevel and the

   24   channel, or is it the lens and the frame?            What are we

   25   comparing to determine if something is larger or smaller
Case 2:17-cv-00416-JRG Document 66 Filed 04/29/18 Page 29 of 64 PageID #: 730
                                                                                29



    1   than the other?

    2              MR. ISBESTER:       I am not a mechanical engineer, and

    3   I don't have Mr. Wiand's 47 years of experience.              All I'm

    4   left with is the claim language, Your Honor.

    5              Can you bring up Claim 9, Mr. Hartman?           No, just --

    6   just Slide 9.      I'm sorry, Slide 9, not Claim 9.

    7              Do you see in the -- in the paragraph that has the

    8   phrase "interference fit," I'm going to start reading from

    9   the fifth line from the bottom:          The vertex of the bevel

   10   being in contact with the receiving channel bottom -- I

   11   don't think anybody's disputing what that means -- and

   12   having an interference fit.         So now we're talking about the

   13   vertex of the bevel having an interference fit with the

   14   receiving channel bottom when held in the eyeglass frame.

   15              So -- so the -- and remember that the frame doesn't

   16   necessarily go all the way around the lens.             What the claim

   17   says is that the interference fit is between the bevel

   18   itself and the channel, not between the frame as a whole and

   19   the lens that's placed into the opening in that frame.

   20              THE COURT:    Well, that seems like a pretty

   21   important point to me.

   22              MR. ISBESTER:       As long as I've answered your --

   23   your question, Your Honor.

   24              THE COURT:    No.     I see -- I see what you're saying.

   25              MR. ISBESTER:       Now, the other problem, or the next
Case 2:17-cv-00416-JRG Document 66 Filed 04/29/18 Page 30 of 64 PageID #: 731
                                                                                 30



    1   problem with the Plaintiff's definition is that it doesn't

    2   find any support in the specification.

    3              If you look at the -- the places where interference

    4   fit is used in the specification, it's nowhere defined.                 It

    5   simply refers to a fit of a bevel in a channel -- channel,

    6   singular.

    7              There's nowhere any discussion of the interference

    8   fit being caused by the -- the lens being captured between

    9   opposing sides of the frame.         The interference fit referred

   10   to is always the interference fit within the channel, which

   11   is referred to in the patent, by the way, Your Honor, as the

   12   retention structure.

   13              And that's what you see in the figures, too.            We've

   14   already talked about Figure 2.

   15              Now, Figure 2, you could imagine the -- the

   16   addition of a frame at the bottom.

   17              If we go to that, Mr. Hartman.

   18              But I had to -- I had to create that drawing from

   19   scratch.    That's not in the patent.         It'd be easy to -- for

   20   a draftsman to add in that lower part and say that the

   21   interference fit now is between the top and the bottom

   22   portions of the frame.        But that isn't shown in the patent.

   23   Instead, what you see in the patent -- go to the next

   24   slide -- Figure 3B, you've got one channel with the bevel

   25   fitting up into it.
Case 2:17-cv-00416-JRG Document 66 Filed 04/29/18 Page 31 of 64 PageID #: 732
                                                                                31



    1              Figure 4, the exact same thing.

    2              Figure 5, the exact same thing.

    3              Nowhere in the patent does it describe a fit that's

    4   created by the opposing sides of the lens being captured in

    5   a frame.

    6              Finally -- I'm sorry, I'm getting -- I'm getting

    7   ahead of myself.      I'm only up to three of four.

    8              Next, the Plaintiff's definition contradicts the

    9   file history.      And here, we'd like to point to the

   10   examiner's comments.       And the examiner essentially said:

   11   I've got this reference Chappell, and it teaches how to hold

   12   a lens in an eyeglass frame, and it matches up.             And he goes

   13   through all the different ways in which it matches up with

   14   the language of the claim, including interference fit.

   15              And then he realizes, wait a second, it's not clear

   16   what I mean by interference fit.          And so he adds in the

   17   parenthetical:      The bevel fits into the triangular channel

   18   in such a manner that the channel interferes with the motion

   19   of the lens by frictional forces.

   20              So that's what the examiner believed interference

   21   fit to mean in 2012.       This patent was prosecuted for another

   22   two and a half years after that without anybody saying

   23   anything to the contrary.

   24              Now, there is a slide that Mr. Halan used.

   25              May I switch to the video camera -- document
Case 2:17-cv-00416-JRG Document 66 Filed 04/29/18 Page 32 of 64 PageID #: 733
                                                                                32



    1   camera?

    2              I think it was their Slide 11.         And the point I'd

    3   like to make about this quote is that it doesn't address

    4   what is an interference fit.         It addresses whether or not

    5   Chappell has an interference fit.

    6              The quote that you've been provided, by the way,

    7   Your Honor, also conflates two different arguments.              The

    8   first paragraph -- or the start of the paragraph is an

    9   argument to distinguish Claim 1 from Chappell.             But then you

   10   see where the term "Chappell" appears right here, that's

   11   actually a separate paragraph addressing Claim 25.

   12              When you read this passage in the -- in its

   13   entirety in context, I think you would agree with me that it

   14   nowhere is contradicting the examiner's understanding of

   15   interference fit.      It's simply disputing whether or not

   16   Chappell has one.

   17              Now, finally, Your Honor, I'd like to address a

   18   point that you made in the -- thank you -- in your -- your

   19   questions to Mr. Halan, and that is that the phrase -- the

   20   definition of interference fit that's being offered by the

   21   Plaintiff renders the phrase "in compression" superfluous.

   22              Now, "in compression" is a term that was

   23   specifically added in order to distinguish these claims over

   24   the prior art and resulted in the allowance of the claims.

   25   Without "in compression," these claims wouldn't have been
Case 2:17-cv-00416-JRG Document 66 Filed 04/29/18 Page 33 of 64 PageID #: 734
                                                                                 33



    1   granted.    So it's got to mean something important, and it's

    2   got to mean something different from the interference fit.

    3              But when you look at the Plaintiff's definition of

    4   interference fit, it's impossible to see that.

    5              If you look at Slide 31.

    6              So here's my doctored-up Figure 2 again.           And we

    7   have an external dimension of the lens, per the Plaintiff's

    8   proffered definition of interference fit.            And that external

    9   dimension exceeds the internal dimension between the frame

   10   channel bottoms.

   11              Now, this is nowhere described in the patent, and

   12   it's nowhere depicted in the patent.           So in an effort to try

   13   and make this even more clear, I've doctored up another

   14   figure from the patent.        I've taken Figure 9D, which is a

   15   complete lens, and then I've created a cross-section of a

   16   metal frame that that lens is supposed to fit into.

   17              And the lens has an external dimension that exceeds

   18   the internal dimension -- that exceeds the internal

   19   dimension of the metal frame.

   20              Now, the only way you're going to get that lens

   21   into that frame and keep it there is by compressing it.                 It

   22   seems fairly unavoidable.

   23              And if that results from the interpretation of

   24   interference fit, then why did the examiner think that "in

   25   compression" made a difference?          Why did the Plaintiff think
Case 2:17-cv-00416-JRG Document 66 Filed 04/29/18 Page 34 of 64 PageID #: 735
                                                                                34



    1   that "in compression" made a difference to the scope of the

    2   claim?

    3              Now, I'd like to make one more point that we

    4   haven't raised previously in our briefs and we haven't

    5   identified in any of the slides.

    6              But if we can go back actually to the previous

    7   slide, Mr. Hartman.

    8              You see that the -- the definition of interference

    9   fit proffered by the Plaintiff includes the language

   10   "internal dimension between the frame channel bottoms."

   11   My -- my colleagues just told me -- and Mr. -- Mr. Halan had

   12   referred to this, and we just did a search to see whether

   13   the phrase "frame channel bottoms," "channel bottoms,"

   14   plural "channels" appears anywhere in the patent.              And it

   15   doesn't.

   16              Now, if the purpose of this invention was to create

   17   an interference fit such that between two points on the

   18   lens, two different channel bottoms, you had to squeeze the

   19   lens into place, then surely that would have been described

   20   somewhere in the patent.        But nowhere in the patent is there

   21   any such -- any such discussion.

   22              I'd like to conclude on interference fit by just

   23   noting, Your Honor, that the definition that Plaintiff --

   24   excuse me, that -- that Hoya has offered now, and -- and my

   25   apologies both to counsel and the Court that -- that we
Case 2:17-cv-00416-JRG Document 66 Filed 04/29/18 Page 35 of 64 PageID #: 736
                                                                                35



    1   offered this only in our opposition brief, but as Mr. Halan

    2   notes, we realized the force of their argument.             We had made

    3   a mistake, and we sought to correct it.            And what we have

    4   done is simply adopt the examiner's understanding of

    5   "interference fit" from the file history.

    6              One of the purposes of his -- the advantages of the

    7   intrinsic evidence is that it provides notice to the public

    8   of what is meant by the terms being used in the claims in

    9   particular.     And certainly a member of the public reviewing

   10   this file history would understand interference fit means

   11   exactly what the examiner delineated there.

   12              THE COURT:    How do you respond to Plaintiff's

   13   argument that what you're effectively asking the Court to do

   14   is to recognize the patentee as his own lexicographer, and

   15   yet it's the examiner that adopts this, not the -- not the

   16   applicant or the patentee, and to enter into your own

   17   lexicography, it's got to be your adoption, not just your

   18   acquiescence in what the examiner may say?            How do you

   19   respond to that?

   20              MR. ISBESTER:     Well, I don't regard this as a

   21   lexicography issue.       And certainly we are -- we are not

   22   suggesting that the examiner has expressly promulgated a

   23   definition that is otherwise at odds with the record because

   24   that's typically what happens in lexicography cases.               The --

   25   the claim term means something in light of the specification
Case 2:17-cv-00416-JRG Document 66 Filed 04/29/18 Page 36 of 64 PageID #: 737
                                                                                 36



    1   and -- and so forth, but the applicant says, that's not

    2   exactly the meaning I want in this -- in this claim, in --

    3   in this -- for this -- the purpose of this patent.

    4              That's not what happened here.         Rather, the

    5   examiner is looking at the record before him and saying:

    6   I've -- I've come across this term.

    7              What does the Plaintiff -- at that point,

    8   Mr. Wiand, so the applicant, what does he understand

    9   "interference fit" to mean?         And the examiner is inferring

   10   from the record what "interference fit" is intended to mean

   11   in the context of this patent and these claims.

   12              That's not really a lexicography situation.            My --

   13   my friend has suggested that what we're asserting is a

   14   disavowal, an express disavowal.          No, that's -- that's not

   15   the situation here at all.         We are not asking this Court to

   16   find that the Plaintiff expressly disavowed, by virtue of

   17   acquiescing in the examiner's interpretation.

   18              Disavowal is a procedure or process by which the

   19   applicant says things on the record that cause the scope of

   20   the claim to be narrower.        And what we are saying is, no,

   21   the scope of the claim is out here, and it's Plaintiff's

   22   extrinsic evidence that is narrowing the claim, making it

   23   smaller.

   24              So this is not a disavowal argument either.            This

   25   is simply reading a patent claim in light of the
Case 2:17-cv-00416-JRG Document 66 Filed 04/29/18 Page 37 of 64 PageID #: 738
                                                                                37



    1   specification and the file history of which it is a part and

    2   inferring from that record what it is that the examiner, the

    3   applicant, and a member of the public would understand

    4   the -- the critical terms to mean.

    5              THE COURT:    All right.     It seems like you're asking

    6   to pack a lot into this inference that you believe the

    7   public would see and others that would view the entirety of

    8   the record would see and -- and be cognizant of.              Inferences

    9   are tricky things sometimes.

   10              MR. ISBESTER:     Yes, Your Honor.      But our inference

   11   has -- has two advantages.

   12              First of all, it's clearly the inference the

   13   examiner drew.

   14              And, second -- if you go to the next slide -- it

   15   entirely comports with the invention.

   16              You know, our inference is consistent with this

   17   being the invention.       Their extrinsic evidence definition is

   18   not.

   19              THE COURT:    Well, it seems like to me one of the

   20   key issues here the Court's going to have to deal with, and

   21   to a certain extent it seems to me that both sides are at

   22   some level talking past each other, is the context of this

   23   word "interference fit" and does it apply to a context that

   24   involves a lens fitting within a frame, as Plaintiff

   25   suggests, or does it lend itself to construction in a
Case 2:17-cv-00416-JRG Document 66 Filed 04/29/18 Page 38 of 64 PageID #: 739
                                                                                 38



    1   context of merely the bevel relating to the channel.               And

    2   those -- those are different things.           And you're both taking

    3   different positions.       And I've heard a lot why each of you

    4   think you're right.       I'm not so sure I've heard a lot why

    5   you think the other one is wrong.

    6              But the claim as a whole is going to have to be

    7   read to -- by the Court in a way that identifies the proper

    8   context for this disputed term, "interference fit," and it's

    9   in all likelihood going to be one context or the other,

   10   either the lens relating to the frame or the bevel relating

   11   to the channel.      But I don't see how it can be both.

   12              MR. ISBESTER:     I think you put your finger on

   13   exactly the issue before the Court, and --

   14              THE COURT:    And I'm not sure that the Court won't

   15   benefit more from a fuller reading of the entire claim

   16   language than from the specific argument on what's in one

   17   party's construction as opposed to the other.

   18              MR. ISBESTER:     I -- I could never disagree with

   19   that comment, Your Honor.

   20              What I would suggest, though, is that the

   21   Plaintiff's construction is clearly dependent upon

   22   "interference fit" describing a fit of the lens as a whole

   23   within the eyeglass frame as a whole, and thereby

   24   securing --

   25              THE COURT:    Well, let me ask you this.         You make a
Case 2:17-cv-00416-JRG Document 66 Filed 04/29/18 Page 39 of 64 PageID #: 740
                                                                                39



    1   lot out of the fact that Plaintiff is presuming that the

    2   frame completely -- and this is not precise -- but encircles

    3   the lens.     It's not a circle obviously, but I'll use that

    4   word.

    5              The glasses I'm wearing, that I've worn for 10

    6   years, have a frame at the top, but they have what I would

    7   in very imprecise terms call a piece of fishing line holding

    8   the bottom half of the frame.

    9              MR. ISBESTER:     Your Honor, that's what Hoya calls

   10   it, too.

   11              THE COURT:    And I haven't taken these apart, and

   12   I'm not about to, but I suspect that there's a bevelled edge

   13   in the top half of the lens as it interfaces with the frame,

   14   and yet in the bottom half of the lens, there's a groove for

   15   that fishing line to fit in.         I'm not sure that -- I'm not

   16   sure that my glasses, which don't have a frame that

   17   completely encircles the lens, would cause me to construe

   18   this term any differently than if I had a pair of glasses

   19   where the frame did completely encircle the lens.

   20              You seem to make a lot out of the fact that the

   21   lens and the frame don't always cover 360 degrees around the

   22   outer edge of the -- of the lens.          And you seem to imply

   23   that that's -- that's a scenario that the Plaintiff is

   24   hanging their hat on, for lack of a better phrase.

   25              How -- how important -- I mean, tell me why -- tell
Case 2:17-cv-00416-JRG Document 66 Filed 04/29/18 Page 40 of 64 PageID #: 741
                                                                                40



    1   me why this construction is impacted by the fact that not

    2   all frames completely encircle all lenses.            Why -- why does

    3   that make as big of difference as -- as you believe it does

    4   in this context as to the construction of this term?

    5              MR. ISBESTER:     I think I may be slightly -- I hope

    6   this doesn't sound like a semantical difference, but my --

    7   what I'd like to convey is that the Hoya definition would

    8   apply equally to the bevel and channel in your eyeglasses,

    9   Your Honor, as it would to a set of eyeglasses in which the

   10   frame entirely encircles the lens.          Nothing in the claim

   11   language suggests that the claim is only applicable to

   12   glasses in which the frame entirely encircles the lens.

   13              And what I am -- what Hoya's trying to do is find

   14   the claim construction that is most consistent with the

   15   intrinsic evidence.       Remember, the specification

   16   specifically talks about frames that have only half the

   17   frame, such as yours, but the construction that's now being

   18   offered by the Plaintiff would exclude a set of glasses such

   19   as yours.

   20              This -- as I say, it's a topsy-turvy world that --

   21   Your Honor, in which we're arguing that Claim 1 of the '360

   22   patent covers more product than -- than the Plaintiff would

   23   suggest.

   24              But in the intellectual integrity exercise, I don't

   25   see how you can read into Claim 1 a requirement that the
Case 2:17-cv-00416-JRG Document 66 Filed 04/29/18 Page 41 of 64 PageID #: 742
                                                                                41



    1   frame encompass the lens.

    2              And to -- to finish that argument off, Your Honor,

    3   at the top where this frame -- where you have a rim around

    4   your lens, very likely you're right, there is a channel and

    5   a bevel.    And as long as -- as long as that bevel doesn't

    6   pop out of the channel, you've got a fit.

    7              Whereas, with the Plaintiff's definition, you've

    8   only got a fit if the bevel is being forced up into the

    9   channel by pressure from the fact that the lens is bigger

   10   than the space into which it's being fit.

   11              THE COURT:    All right.     How does that comport with

   12   Figures 9D, E, and F in the '360 patent where you've clearly

   13   got a bevel at the top of the lens and at the bottom of the

   14   lens?

   15              MR. ISBESTER:     Absolutely, Your Honor.

   16              And that's why -- you may recall that I used Figure

   17   9D in Slide 32 of -- of our slide deck.            I used Figure 9D as

   18   the basis of the illustration.

   19              But these are lenses that -- some of them would be

   20   entirely encircled.

   21              Now, I'm not sure that this applies to all of them.

   22   There are -- sorry, I -- I didn't answer that very well.

   23              These figures depict cross-sections from one side

   24   to the other of the lens.        But I think if you go up to 9A,

   25   you've clearly got a bevel at the top and a bevel at the
Case 2:17-cv-00416-JRG Document 66 Filed 04/29/18 Page 42 of 64 PageID #: 743
                                                                                  42



    1   bottom.

    2              But at 9B, and I -- I assume the labels refer to

    3   the figure above, Your Honor, so 9B, you've got a bevel at

    4   the bottom -- whoops, yeah, there you go, yeah -- and you've

    5   got a groove at the top.         So it's not clear to me how that

    6   lens is affixed on the side opposite the -- the bevel.                  That

    7   groove may be something that the fishing line fits into, for

    8   example.

    9              And then on 9C, again, you've got a complete lens,

   10   and you've clearly got a bevel at the bottom, but is the top

   11   going to be used as a bevel?         Is it going to fit into a

   12   channel, or does that face get glued to a frame?              I mean,

   13   you know, there are many different ways that these lenses

   14   might be mounted.

   15              THE COURT:    All right.     Well, let's try to circle

   16   back to the beginning, counsel.          What else do you have with

   17   regard to "interference fit" that you haven't told me so

   18   far?

   19              MR. ISBESTER:     I can't imagine talking about

   20   "interference fit" any further, Your Honor.

   21              THE COURT:    Okay.    Well, let me -- let me thank you

   22   for that argument, and let me inquire if Plaintiff has any

   23   brief rebuttal.

   24              If not, we'll move on.       If you do, I'll hear it.

   25              MR. HALAN:    Yes, I do, Your Honor.
Case 2:17-cv-00416-JRG Document 66 Filed 04/29/18 Page 43 of 64 PageID #: 744
                                                                                 43



    1              THE COURT:    All right.

    2              MR. HALAN:    Using the rule of primacy, the -- the

    3   last thing that was pointed out was these Figures 8A, B,

    4   C -- well, I'm sorry, Figures 9A, 9B, 9C, 9D, 9E, 9F.

    5   Opposing counsel was trying to argue that some of these

    6   figures -- that's not a bevel shot on top, but, instead,

    7   it's a channel.      If you read the specification, all of those

    8   things on top, whether it be 150, 154, 158, 162, 166,

    9   they're all described as being a bevel, Your Honor.              Those

   10   are bevels meant to fit into the channel.            So that was a

   11   misleading comment.       I just wanted to point that out.

   12              And, basically, this whole thing boils down to --

   13   this -- this is a very commonly understood term in the art.

   14   And so here while it's not further defined in the spec, but

   15   this is commonly understood by all of those in the art.

   16   Again, all the evidence we've pointed to shows that's the

   17   way -- and the treatises in the optical industry, prior art

   18   patents, it's -- it's used that way.           It's understood by

   19   those in the art.       There was no reason for the -- the

   20   inventor to put in any additional definition.             It's just the

   21   way it's commonly understood.

   22              And I wanted to point out that -- but, yeah, Hoya

   23   points to nothing -- nothing to contradict those other than

   24   they're relying on this examiner's statement, and who knows

   25   what the examiner is really trying to say, but that was
Case 2:17-cv-00416-JRG Document 66 Filed 04/29/18 Page 44 of 64 PageID #: 745
                                                                                 44



    1   never adopted by the patentee.

    2              He pointed -- we talked about this -- this partial

    3   frame.    I just want to point out that -- hold on -- that is

    4   part of a description from Column 4, Line 59, through Column

    5   5, Line 14, of various embodiments.

    6              And, first off, I want to point out that it's our

    7   position that a frame would not have to completely encircle

    8   a lens for there to be an interference fit.             For example, if

    9   we can imagine a -- a purely circular lens for -- it's

   10   easier to understand.       Let's say the frame only encircled

   11   70 percent of it.      If it was an interference fit, the lens

   12   still wouldn't be able to fall off because it would -- it

   13   would be encircled by slightly more than 50 percent.               So

   14   we're not saying the frame always has to be encircled, but

   15   there does have to be an interference fit.

   16              They're, again, arguing that this is simply

   17   interference fit.      But, again, this contact between the

   18   vertex of a lens with the channel is claimed in other parts

   19   of the claim.      It's not part of the interference fit claim.

   20   The interference fit is something in addition to this.

   21   This -- their limitation alone is not interference fit.                 It

   22   can't be.

   23              They also made this argument about the -- the

   24   length of our claim construction.          Again, our real claim

   25   construction is that part that we have highlighted in green,
Case 2:17-cv-00416-JRG Document 66 Filed 04/29/18 Page 45 of 64 PageID #: 746
                                                                                45



    1   Your Honor.     And we -- we told you that this morning, we're

    2   not seeking this lengthy claim construction.

    3              And their -- their argument is that we are seeking

    4   a lengthy claim construction in order to broaden our claim.

    5   That was one of their arguments they made, a -- a lengthy

    6   construction would actually try to narrow it.             But we're

    7   only relying on the one definition of interference fit

    8   that's in green, and that's in our Slide 3.

    9              THE COURT:    I'm not so concerned about how many

   10   words are there --

   11              MR. HALAN:    Okay.

   12              THE COURT:    -- as I am what the words are.

   13              MR. HALAN:    Thank you, Your Honor.

   14              Go to Slide 18 if you can.

   15              Yeah, they also made -- Claim 1 -- they pointed out

   16   that Claim 1 recites the receiving channel defined by

   17   opposed interior wall surfaces, and they're saying that

   18   means it has to be triangular, as they're trying to fit into

   19   this claim limitation -- or they're trying to fit a -- a

   20   triangular limitation into their definition.

   21              But, again, as shown here and explained, you can

   22   have opposed wall surfaces with a flat surface between which

   23   is shown in Figure 6 on the right.          And this is specifically

   24   one of the embodiments or the various embodiments defined in

   25   the invention.      So it doesn't have to be triangular.           Again,
Case 2:17-cv-00416-JRG Document 66 Filed 04/29/18 Page 46 of 64 PageID #: 747
                                                                                46



    1   they're trying to add limitations that aren't part of a --

    2   the definition of interference fit.

    3              And -- and I guess I still don't really

    4   understand their tolerance argument because our -- our --

    5   we're not concerned with tolerances.           We're -- we're

    6   concerned about the interference fit that has -- which means

    7   that the -- again, the dimension has to be larger than the

    8   frame dimension.

    9              And, again, they -- they said that our -- our

   10   extrinsic evidence, we were cherry-picking, but if we were

   11   cherry -- again, they've offered nothing, again, in

   12   opposition to the -- all the extrinsic evidence, the --

   13   which is a lot.      I mean, it's all in the optics industry.

   14   Again, they're relying on just some of the examiner's -- the

   15   statement.

   16              And in Phillips it -- Phillips itself said that if

   17   there's a claim term at issue, and it's not a commonly

   18   understood claim term by lay people, but it's understood in

   19   the art by experts -- not by experts but by people of --

   20   of -- in the industry, you can rely on extrinsic evidence to

   21   understand what that claim term means.

   22              THE COURT:    What else, counsel?

   23              MR. HALAN:    I'm trying to look through my notes

   24   here, Your Honor.       I'm not sure if there's anything else or

   25   not.   May I have one second, Your Honor?
Case 2:17-cv-00416-JRG Document 66 Filed 04/29/18 Page 47 of 64 PageID #: 748
                                                                                47



    1              THE COURT:    Take a moment.

    2              MR. HALAN:    I have one comment on one of the

    3   slides.    Oh, that's right.

    4              So his Slide 22, also, he's -- he's -- he cites

    5   quotes from different portions of the specification and says

    6   that the specification nowhere defines interference fit as

    7   we're asserting it.       And, again, there is no -- we're not

    8   saying there was a clear definition.

    9              But if you -- he picked and chose language from

   10   these portions of the spec.         If you -- if you get beyond the

   11   ellipses, what these are describing is -- in all these

   12   instances is a fit in which the lens is secured within the

   13   frame by an interference fit, which, again, an interference

   14   fit in the nomenclature of the industry means that the --

   15   one dimension exceeds the other dimension.

   16              And that's all I have, Your Honor.

   17              THE COURT:    All right.

   18              MR. HALAN:    Okay.

   19              THE COURT:    Thank you, Mr. Halan.

   20              Let's move on to "in compression," our next

   21   disputed term.      And --

   22              MR. HALAN:    Thank you.

   23              THE COURT:    -- we'll follow the same order.          Let me

   24   hear from the Plaintiff first.

   25              MR. HALAN:    Okay.    So, again, Your Honor, this
Case 2:17-cv-00416-JRG Document 66 Filed 04/29/18 Page 48 of 64 PageID #: 749
                                                                                 48



    1   slide shows -- on the left side is our -- the construction

    2   we've been asserting.       And, actually, we don't think this

    3   term actually needs construction.          We think the word

    4   "compression" is easily understood.           We only offered a

    5   construction because they were asserting a construction was

    6   needed.

    7              So -- and they started off by -- again, the

    8   original definition was pressed against something.              Again,

    9   after we pointed out in our brief this was -- couldn't be

   10   true.     Again, they understood the -- the error of their ways

   11   and, again, tried to come up with an alternative deposition

   12   (sic).     And their definition now is being pressed together

   13   but not necessarily into less space.

   14              THE COURT:    Well, that's the problem.         Both of you

   15   are saying the term needs no construction, its plain and

   16   ordinary meaning should apply, but then you go on to recite

   17   what you each believe the plain and ordinary meaning is, and

   18   they don't match up.

   19              MR. HALAN:    That's right, Your Honor.

   20              THE COURT:    Particularly whether it can or can't --

   21   or that -- should be and must necessarily be pressed into

   22   less space or not necessarily placed into less space.

   23              MR. HALAN:    Right, Your Honor.       Well, their

   24   definition would actually include it being compressed into

   25   less space.     They -- they say it's not necessarily less
Case 2:17-cv-00416-JRG Document 66 Filed 04/29/18 Page 49 of 64 PageID #: 750
                                                                                49



    1   space.

    2              THE COURT:    Right.

    3              MR. HALAN:    But if you go to the next slide.

    4              Again, this goes to what we talked about earlier,

    5   Your Honor.     Their argument -- basically, their only

    6   argument against our construction is that if you press

    7   something into less space, it must deform.            And our patent

    8   doesn't always require deformation, and we agree with that.

    9              But as we pointed out earlier today, there's a

   10   variety of reasons why compression does not necessarily

   11   cause deformation.       Again, the frame itself could bend or

   12   deform.    And it depends on the stiffness of materials and

   13   the extent of the compression.

   14              And, also, in the prosecution history itself, it

   15   was stated that the lens could be compressed at the vertex

   16   and make it form at the vertex, meaning that it doesn't

   17   always have to form at the vertex.          So by the prosecution

   18   history itself, the patentee was saying that compression

   19   doesn't always cause deformation.

   20              Our position is that if you read, again, the

   21   context -- you have to take the context within the claim,

   22   and that's why we cite this case down here which is quoted

   23   from Phillips, saying:        Notably, the context in which a term

   24   is used in the asserted claim can be highly instructive for

   25   claim construction.
Case 2:17-cv-00416-JRG Document 66 Filed 04/29/18 Page 50 of 64 PageID #: 751
                                                                                50



    1              In this case, the context in which it's used is in

    2   junction with interference fit.          So if you go back to the

    3   previous -- previous page, that's why we say it should

    4   mean -- mean pressed into less space because that comports

    5   with interference fit, and any other definition would not.

    6              And, again, it would be fine, Your Honor, if we

    7   just did not define it at all because we don't think it

    8   needs to be defined.       I think any jury can understand the

    9   word "compression."       It's not a -- and that's all I have,

   10   Your Honor.

   11              THE COURT:    All right.     Let me hear a response from

   12   the Defendant.

   13              MR. ISBESTER:     Your Honor, may I first add one

   14   sentence regarding interference fit, or is the book on that

   15   closed?

   16              THE COURT:    One sentence.

   17              MR. ISBESTER:     If I may have the camera on.

   18              The patent describes Figure 3B as a cross-sectional

   19   view of the bevel in the interference fit with an eyeglass

   20   frame.    And that's -- this is 3B.        This is an interference

   21   fit, according to the patent.

   22              THE COURT:    All right.     Let's move on.

   23              MR. ISBESTER:     Let me turn to compression then.

   24              THE COURT:    How do you compress something but not

   25   necessarily in less space?
Case 2:17-cv-00416-JRG Document 66 Filed 04/29/18 Page 51 of 64 PageID #: 752
                                                                                51



    1              MR. ISBESTER:     Well, Your Honor, this -- this big

    2   building is clad in brick and stone, and I'm sure the bricks

    3   at the bottom of the wall feel that they're under

    4   compression.     But let's hope that they're not taking up less

    5   space.    Lots of things are placed in compression, and their

    6   value, their virtue is that they don't take up less space

    7   when placed in compression.

    8              Furthermore, the claim language itself requires

    9   that the -- the bevel in some instances be compressed and

   10   deformed.     Well, any time you put something into less space,

   11   it seems to me, you are inherently deforming it.              It no

   12   longer has the form it used to have.           It now has a new form

   13   that fits into less space.

   14              THE COURT:    What if you have a rubber ball and you

   15   have it in a compression chamber and you raise the

   16   compression such that all the surface of the rubber ball has

   17   the same amount of force applied to it at the same time,

   18   would not that ball just shrink in size but would remain in

   19   the same exact shape?

   20              MR. ISBESTER:     It might have the same exact shape,

   21   but the two-inch diameter ball is now only an inch and three

   22   quarters in diameter.       It has a different form, and the

   23   question is not --

   24              THE COURT:    It's still a ball.       It's a smaller

   25   ball, but it's still a ball.         There's no deformation there.
Case 2:17-cv-00416-JRG Document 66 Filed 04/29/18 Page 52 of 64 PageID #: 753
                                                                                52



    1              MR. ISBESTER:     Your Honor, it hadn't occurred to me

    2   that the word "form" is the word we should be -- we should

    3   be construing here, or -- or deform.

    4              My understanding of the word "form" is that it

    5   includes changing something's shape.           Something that is

    6   merely shrunk or enlarged but has the same shape would still

    7   be deformed.     It would no longer have the same form, and,

    8   therefore, compression is entirely -- if -- if you define

    9   compression as being under pressure or pressed together and

   10   having -- and taking less space, then you are defining "in

   11   compression" to be the same as or at least a -- a flavor of

   12   deformation.     And since the claims distinguish between the

   13   two, that would be impermissible.

   14              I could go on, Your Honor, to the point that the

   15   specification clearly distinguishes between deformation and

   16   compression.     And the file history is quite lengthy about

   17   how it is important to avoid deformation even when there is

   18   compression.     But if one doesn't start from the same

   19   starting point that shrinkage into a smaller space, a

   20   smaller volume is a form of deformation, I'm not sure any of

   21   that argument matters.

   22              And -- and, frankly, I'm not sure that Mr. Halan

   23   would -- would dispute my argument that both the

   24   specification and the file history distinguish between being

   25   in compression and deformation.
Case 2:17-cv-00416-JRG Document 66 Filed 04/29/18 Page 53 of 64 PageID #: 754
                                                                                53



    1              But it comes down to then what -- what we should

    2   have done perhaps is provide your -- provide Your Honor with

    3   guidance as to what we thought deformation meant.

    4              THE COURT:    Well, certainly there can be

    5   compression that has with it deformation, but I'm not so

    6   sure that there can't be compression that doesn't always

    7   have deformation with it.

    8              And you're saying -- you're saying by the two-inch

    9   rubber ball being compressed with the exact same force on

   10   all its surface such that it's now an inch and three

   11   quarters, that that's deformed --

   12              MR. ISBESTER:     Yes.

   13              THE COURT:    -- in and of itself.

   14              MR. ISBESTER:     Yes, Your Honor.

   15              THE COURT:    And I'm not sure I agree with that.

   16              MR. ISBESTER:     Okay.

   17              THE COURT:    It's compressed, no doubt about it.

   18   But I'm not sure it's compressed and deformed.

   19              Now, if the -- if the pressure wasn't the same on

   20   all parts of the surface, it certainly would be deformed,

   21   but --

   22              MR. ISBESTER:     Well, let me go back, Your Honor, to

   23   the -- and leave -- leave aside the question of -- of

   24   deformation for the time being.

   25              Let me go back to my building materials.           Surely,
Case 2:17-cv-00416-JRG Document 66 Filed 04/29/18 Page 54 of 64 PageID #: 755
                                                                                54



    1   one of the advantages, one of the -- the virtues of concrete

    2   and granite rock and brick is that even under compression,

    3   sufficient to hold up bridges and buildings, they don't

    4   shrink to take less volume.         They -- they retain the -- the

    5   volume that they were carved or poured to retain at the

    6   outset.

    7              And yet we would still call those "in compression."

    8   We don't object to the pressed together aspect of

    9   Plaintiff's definition.        We only object to the notion that

   10   there be some contraction in the volume necessarily in order

   11   to effectuate compression.

   12              And -- and the reason, Your Honor, of course, is

   13   that Plaintiff is trying to find a basis to distinguish the

   14   prior art from this claim.         And the prior art will teach --

   15   the prior art will teach a -- a lens that is pressed on the

   16   top and the bottom by the frame, but the prior art perhaps

   17   doesn't say and thereby the lens shrink to a smaller volume

   18   or is compressed into a smaller volume.            And this will be a

   19   point of distinction that the Plaintiff argues between its

   20   claim and the prior art.

   21              So it -- it's not entirely an academic exercise.

   22   I'd also like to point out that we aren't talking about a --

   23   we're not talking about a rubber ball that's being

   24   compressed on all sides.

   25              If we can go to Slide 32.
Case 2:17-cv-00416-JRG Document 66 Filed 04/29/18 Page 55 of 64 PageID #: 756
                                                                                55



    1              THE COURT:    No, we're certainly not, but we're also

    2   talking about a lot of illustrations that don't have

    3   anything to do with the patents-in-suit.            I mean, obviously,

    4   from a historical context, we're talking about eyeglasses

    5   that used to have glass lenses that now have plastic --

    6              MR. ISBESTER:     Yes.

    7              THE COURT:    -- or polycarbonate lenses and pressure

    8   on the glass causes it to break or shatter.             Pressure on the

    9   plastic causes it to compress.

   10              Now, does that also mean it deforms?          We get back

   11   to the same issue.

   12              MR. ISBESTER:     Well, and -- and as best I can, I'm

   13   going to try and respond to Your Honor's question without

   14   using the word "deformation" or "deform."

   15              When this lens shown on the screen now is forced

   16   into the smaller gap between the top and the bottom of the

   17   frame, is it simply going to retain its same shape and --

   18   and get smaller?      I don't think so.

   19              What's going to happen is it's going to bow, to the

   20   extent it gives, and the frame is going to stretch, to the

   21   extent it gives.

   22              But you would still call that lens "in

   23   compression."      There's certainly nothing in the patent that

   24   suggests that when the lens is in the frame, by virtue of

   25   the pressure exerted on the lens, it assumes a smaller
Case 2:17-cv-00416-JRG Document 66 Filed 04/29/18 Page 56 of 64 PageID #: 757
                                                                                56



    1   shape.

    2              There's actually a discussion in the patent about

    3   how the preliminarization process in a patent -- in a

    4   plastic lens continues even after the lens has been

    5   fabricated, and as a result, the lens shrinks.             But that's

    6   not related to the compression.          That's related to the

    7   chemical nature of the lens in question.

    8              So we don't see any -- any basis in the

    9   specification or the file history for this less space

   10   component of compression.        And if it is a plain and ordinary

   11   meaning word, would you not say that those blocks at the

   12   base of the pyramid are in compression, but they've been the

   13   same size for 3,000 years.

   14              The plain and ordinary meaning doesn't include

   15   being shrunk in some uniform fashion so that the shape

   16   doesn't change but the volume does.

   17              THE COURT:    Well, I'm not at all sure the blocks at

   18   the base of the pyramids are identically the same shape as

   19   they were 3,000 years ago.         They may --

   20              MR. ISBESTER:     Fair point, Your Honor.

   21              THE COURT:    -- they may have -- whether we want to

   22   call it compressed or deformed or whatever word we want to

   23   use here as a verb, they may be nearly identical to the same

   24   shape before or same size before, but I'm not sure there's

   25   not some terribly small difference in size or shape.
Case 2:17-cv-00416-JRG Document 66 Filed 04/29/18 Page 57 of 64 PageID #: 758
                                                                                57



    1              The amount of compression/deformation is going to

    2   obviously wide -- widely vary given the materials that are

    3   at issue.     The rubber ball may be at one extreme and a

    4   diamond at the other.

    5              MR. ISBESTER:     Uh-huh.

    6              THE COURT:    But I'm not at all sure that -- I'm --

    7   I'm trying to envision compression that over time does not

    8   result in a change in the shape or the space of the item

    9   that's compressed.

   10              Can you -- can you tell me something that over

   11   time, with constant pressure, maintains its exact same

   12   dimension, shape, size?        Can you give me an example of

   13   something in the real world?         I'm not sure I buy the fact

   14   that the blocks at the pyramids -- they may be 99.15 times

   15   past the decimal 9s the same shape they were 3,000 years

   16   ago, but you can't put that much weight on them over that

   17   length of time.      I'm not sure there's any substance on this

   18   planet that given enough pressure and enough time doesn't

   19   change and become smaller in perpetuity.            It may be a

   20   terribly small difference in shape or size, but --

   21              MR. ISBESTER:     I think what you would see, Your

   22   Honor, is that most things that are unable to support the

   23   weight on them and remain -- so let me take a step back.

   24              There's -- Your Honor raises the -- the potential

   25   of something that has changed in volume by one billionth of
Case 2:17-cv-00416-JRG Document 66 Filed 04/29/18 Page 58 of 64 PageID #: 759
                                                                                58



    1   its size.     And I simply am not equipped to deal with the

    2   non-discernible changes.         And with all due respect, Your

    3   Honor, you have no record upon which you can address that

    4   either.

    5              For the purposes of this technology --

    6              THE COURT:    You're trying to persuade me that

    7   you're right, and I'm trying to push back verbally --

    8              MR. ISBESTER:     Yes, okay.

    9              THE COURT:    -- to see if you can counter the

   10   push-back and convince me further.          We call that oral

   11   advocacy.

   12              MR. ISBESTER:     Well, I appreciate the opportunity

   13   to --

   14              THE COURT:    Sure.

   15              MR. ISBESTER:     -- to pursue it.

   16              Most discernible reactions to pressure in the kinds

   17   of materials we're talking about here, polycarbonate, very

   18   carefully constructed polymer plastics, the metal of the

   19   wire frame are going to be some kind of change in shape to

   20   relieve the pressure.       And that's why I -- I pulled up this

   21   slide and talk about the bowing that's going to occur in the

   22   lens and the stretching that's going to occur in the frame.

   23              Those are the first, second, third, and fourth

   24   order changes in shape.

   25              THE COURT:    Well, let me --
Case 2:17-cv-00416-JRG Document 66 Filed 04/29/18 Page 59 of 64 PageID #: 760
                                                                                59



    1              MR. ISBESTER:     If there's shrinkage, if there's

    2   reduction in volume, I think that's going to be so minute

    3   that in the plain and ordinary meaning of the phrase

    4   "compression," it would disappear.

    5              THE COURT:    Well, let me ask in this context, then.

    6   Are you basically asking me to assume that when the larger

    7   lens is forced into the smaller frame and fits within those

    8   channels, that the stretching is all transferred to the

    9   frame and the lens doesn't -- though it's in compression, it

   10   doesn't change its shape and therefore it doesn't deform in

   11   any way?

   12              MR. ISBESTER:     Absolutely not, Your Honor.

   13              THE COURT:    Okay.

   14              MR. ISBESTER:     And, in fact, what we think

   15   happens -- if the lens is too big for the -- for the socket,

   16   then you run into a real problem, because the lens tends to

   17   bow.   It tends to change shape.         The curvatures are now

   18   different from what the optician ordered.            And you have a --

   19   a situation in which the patient is unhappy because the lens

   20   is no longer optically what is made to correct the vision.

   21              THE COURT:    Well, if the size of the lens is

   22   significantly different than the size of the frame, perhaps

   23   that bowing takes place.         But if the differential between

   24   the size of the lens and the size of the frame is much

   25   smaller, then what takes place is this bevel compacts or
Case 2:17-cv-00416-JRG Document 66 Filed 04/29/18 Page 60 of 64 PageID #: 761
                                                                                60



    1   it -- it fits in your triangle.          The -- the wood piece fills

    2   out and deforms as it fits in more snugly.            And so the lens

    3   doesn't bow, but it's the bevel that -- that deforms and

    4   gives you a stronger fit.

    5              MR. ISBESTER:     Exactly.    And at that point, Your

    6   Honor, the bevel is actually changing shape.             We -- the --

    7              THE COURT:    Right.    And so how do we do all this

    8   and not necessarily change in shape, as you're asking me to

    9   find?

   10              MR. ISBESTER:     Oh, no.    No, I'm sorry, Your Honor,

   11   we're not asking you to say the compression is without

   12   changing shape.

   13              THE COURT:    Well, unless --

   14              MR. ISBESTER:     We're saying compression doesn't

   15   necessarily require a change in volume in taking up less

   16   space.    We think -- we think compression results in things

   17   changing shape all the time, especially when you're talking

   18   about plastic lenses.

   19              THE COURT:    Okay.

   20              MR. ISBESTER:     It's only that you can't get that

   21   same amount of plastic into any less volume, even though you

   22   can warp it and bend it and twist it all sorts of ways.

   23              THE COURT:    That's a fair point.        What else?

   24              MR. ISBESTER:     Your Honor, I don't think there's

   25   any -- the file history or the specification would assist,
Case 2:17-cv-00416-JRG Document 66 Filed 04/29/18 Page 61 of 64 PageID #: 762
                                                                                61



    1   so I will dispense with arguments about that.

    2              THE COURT:    All right.     Thank you.

    3              Mr. Halan, do you have a brief rebuttal?

    4              MR. HALAN:    One second, Your Honor.

    5              Your Honor, we have nothing else.

    6              THE COURT:    Okay.

    7              MR. HALAN:    Thank you, Your Honor.

    8              THE COURT:    All right, then.       That will complete

    9   argument on "in compression."

   10              Counsel, do I understand that the parties agreed to

   11   submit "defined by" and is -- "is from" to the Court on the

   12   briefing, or do you want to present oral argument on these

   13   terms?

   14              MR. HALAN:    We're going to let it ride on the

   15   briefing, Your Honor, but if you have any questions, we're

   16   ready and willing to answer them.

   17              THE COURT:    Defendant take the same position?

   18              MR. ISBESTER:     Yes, Your Honor.

   19              THE COURT:    All right.     Well, that's not to say

   20   that 10 minutes from now, I won't have questions, but as I

   21   sit here right now, I don't.

   22              So I'll consider those terms on the briefing that I

   23   have complete in the file.         And I'll consider the first two

   24   terms on the argument that you've given me, along with that

   25   briefing.
Case 2:17-cv-00416-JRG Document 66 Filed 04/29/18 Page 62 of 64 PageID #: 763
                                                                                 62



    1              And unless you have something else for me, that

    2   will complete argument on claim construction for this

    3   afternoon.

    4              I am going to take these matters under submission.

    5   I'll try to get you guidance by way of a written claim

    6   construction order as soon as possible.

    7              I am going to direct that you mediate your disputes

    8   within 30 days of the issuance of my claim construction

    9   opinion.

   10              Any questions from either side before we recess for

   11   the day?

   12              MR. HALAN:    Your Honor, just one comment.          If you

   13   do have a question on those last two terms, if you want us

   14   to submit a one-page something, we're willing to do so.

   15              THE COURT:    I understand.      I know how to do that,

   16   counsel.

   17              MR. HALAN:    Okay.

   18              THE COURT:    I won't be bashful.

   19              MR. HALAN:    All right.     Thank you, Your Honor.

   20              THE COURT:    Anything from Defendant?

   21              MR. ISBESTER:     Your Honor, I -- the only question

   22   that occurs to me is that I believe a date has been set for

   23   the mediation.

   24              THE COURT:    And if it has, that's probably

   25   something I need to know.        Hopefully it's not tomorrow.
Case 2:17-cv-00416-JRG Document 66 Filed 04/29/18 Page 63 of 64 PageID #: 764
                                                                                63



    1              MR. ISBESTER:     I believe it's May 2nd, Your Honor.

    2              THE COURT:    May 2nd.     We're still in March.       You'll

    3   have an opinion long before May 2nd.

    4              MR. ISBESTER:     Thank you very much, Your Honor.

    5              THE COURT:    All right.

    6              MR. HALAN:    Thank you very much, Your Honor.

    7              THE COURT:    All right.     Counsel, thank you for your

    8   submissions.     The Court stands in recess.

    9              COURT SECURITY OFFICER:       All rise.

   10              (Recess.)

   11

   12

   13

   14

   15

   16

   17

   18

   19

   20

   21

   22

   23

   24

   25
Case 2:17-cv-00416-JRG Document 66 Filed 04/29/18 Page 64 of 64 PageID #: 765
                                                                                64



    1                                CERTIFICATION

    2

    3              I HEREBY CERTIFY that the foregoing is a true and

    4   correct transcript from the stenographic notes of the

    5   proceedings in the above-entitled matter to the best of my

    6   ability.

    7

    8

    9    /S/ Shelly Holmes                               4/29/18
        SHELLY HOLMES, CSR-TCRR                          Date
   10   OFFICIAL REPORTER
        State of Texas No.: 7804
   11   Expiration Date: 12/31/18

   12

   13

   14

   15

   16

   17

   18

   19

   20

   21

   22

   23

   24

   25
